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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
EASTERN DIVISION

MICHAEL LEE FRUGOLI,
Plaintiff,
V.

ANDREW SAUL,
Commissioner of Social Security,

Defendant.

) No. 5:20-cv-00151-MRW

)
) JUDGMENT OF REMAND

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The Court having approved the parties’ Stipulation to Voluntary Remand
Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
(“Stipulation to Remand”) lodged concurrent with the lodging of the within
Judgment of Remand, IT IS HEREBY ORDERED, ADJUDGED AND
DECREED that the above-captioned action is remanded to the Commissioner of

Social Security for further proceedings consistent with the Stipulation to Remand.

DATED: 10/21/2020 LU l —_

 

HON. MICHAEL R. WILNER
UNITED STATES MAGISTRATE JUDGE

 
